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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division

                                              )
 IN RE MAXIMUS, INC. SECURITIES               )
 LITIGATION,                                  )       Civil Action No. 1:17-cv-0884 (AJT/IDD)
                                              )

                                  MEMORANDUM OPINION

        In this action under Sections 10(b) and 20(a) of the Securities Exchange Act of 1934,

 Lead Plaintiff Steamfitters Local 449 Pension Plan claims that between February 5, 2015 and

 February 3, 2016 (the “Class Period”), Defendants Maximus, Inc. (“Maximus”) and its officers

 Richard Montoni, Richard Nadeau, and Bruce Caswell (collectively, the “Individual

 Defendants”) issued false or misleading statements concerning Maximus’s performance on a

 major contract with the British government. Because the Amended Complaint fails to adequately

 allege Defendants’ scienter as to the relied upon statements and omissions (as well as, to some,

 materiality) or loss causation, as required under the Private Securities Litigation Reform Act

 (“PSLRA”), Defendants’ Motion to Dismiss Amended Complaint With Prejudice [Doc. No. 49]

 (the “Motion”) will be GRANTED; and the Amended Complaint, DISMISSED.

                                       I. BACKGROUND

        Defendant Maximus, Inc. is a publicly-traded company organized under the laws of

 Virginia and headquartered in Reston, Virginia. Am. Compl. ¶ 33. Maximus’s primary business

 is the administration of government-sponsored benefit programs, such as the Affordable Care

 Act, Medicare, and welfare-to-work programs. Id. On October 29, 2014, the United Kingdom

 Department for Work and Pensions (“DWP”) awarded Maximus a three-year contract to

 administer health assessments for the DWP’s Health Assessment Advisory Service, (the “HAAS

 Contract”). The DWP uses the HAAS program to determine whether British citizens are entitled

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 to Employment and Support Allowance (“ESA”), a government assistance program for those

 who cannot work due to long-term disabilities. To conduct these assessments, a healthcare

 professional (“HCP”) evaluates an individual’s capabilities and physical and mental needs

 against certain criteria set by DWP. The HCP can conduct this assessment based on the paper file

 or a more-time consuming and difficult face-to-face assessment. Id. at ¶ 3.

         DWP initially contracted with Atos Healthcare, Inc. to provide the HAAS assessments.

 Id. at ¶ 4. However, Atos had failed to meet the requisite volume and quality targets and by early

 2014 Atos had a backlog of approximately 724,000 assessments in addition to 600,000 appeals

 of its prior assessments. Id. at ¶¶ 54, 139. In March 2014, Atos decided it would forego £500

 million in revenue and pay a substantial penalty to terminate its contract early rather than

 continue to provide services until the end of its contract in August 2015. Id. at ¶ 54. DWP started

 the bidding process to find a replacement for Atos, setting a non-negotiable target of 1 million

 assessments to be performed in the first year. Id. at ¶ 55. Multiple bidders raised concerns that

 the 1 million assessment target was not feasible, leading at least one “experienced” bidder to

 withdraw. However, “[n]one of this information was publicly known until January 8, 2016,” and

 in any event, Maximus was one of only two companies to place bids, despite the high assessment

 targets. Id.

         Maximus ultimately won the HAAS contract on October 29, 2014, with responsibility for

 performing ESA assessments transferring from Atos on March 1, 2015. Id. at ¶ 56. To perform

 the contract, Maximus created a separate entity called the Center for Health and Disability

 Assessments (“CHDA”). Id. at ¶ 58. Maximus’s total payment under the contract would vary

 from $919 million to $1 billion over three years, depending on how close it would get to its




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 contractual targets of one million assessments in the first year and 1.2 million assessments in the

 following years. Id. at ¶ 59.

          The HAAS Contract was one of the largest contracts Maximus had ever obtained and

 represented 9–10% of its total revenue in 2016 and 25.9–30.6% of its international revenue in

 2015. When Maximus announced that it won the contract, it indicated that it expected the HAAS

 contract “to contribute revenue of approximately $140 million to $160 million during its seven

 months of operation in fiscal year 2015,” and that it “expected [the HAAS Contract] to be

 accretive in fiscal year 2015.” Id. at ¶ 60. However, shortly thereafter, during Maximus’s

 November 2014 earnings call, the company noted that “the [HAAS Contract] faces significant

 challenges out of the gate that will take some time to improve,” and that “there is a meaningful

 backlog that we’re seeking to reduce.” Defs.’ Ex. 4 (“Nov. 2014 Earnings Call”) 15, 28. 1 During

 the question and answer portion of that call, Caswell stated in greater detail that “[t]he biggest

 [challenge] is really the conversion of the existing staff over from Atos . . . and then the hiring of

 additional staff, so that we can hit the peak requirement . . . to meet the volume targets and

 objectives for the first year of the program.” Id. at 28.

          Maximus’s performance on the HAAS Contract was measured by the number of

 assessments performed, and therefore Maximus’s success was dependent to a large extent on its

 ability to recruit, train, and retain HCPs to conduct the assessments. The HAAS Contract was a

 “cost-plus” contract, such that Maximus would be reimbursed for expenses up to a ceiling and

 also receive an Award Fee for exceeding the Contract’s assessment targets. Id. at ¶ 71. The

 assessment targets were subdivided into two categories: paper-based assessments and face-to-

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  While the Amended Complaint does not reference specifically this portion of the earnings call, it references the
 November 2014 earnings call generally, as well as several others. Because the allegations in the Amended
 Complaint primarily concern Maximus’s statements during these earnings calls, these earnings calls, in their
 entirety, are “integral to the complaint” and may be considered by the Court. Philips v. Pitt County Mem. Hosp.,
 572, F.3d 176, 180 (4th Cir. 2009).

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 face assessments. Under the Award Fee scheme set out in the Contract, Award fees would be

 paid only if Maximus met its face-to-face assessment volume target for the month. Any paper-

 based assessment Award Fees would be forfeited if the Company did not also meet the face-to-

 face target for that month. Id. Since many of the HCPs expected to work on the HAAS Contract

 for Maximus were those already working for Atos, the Contract required the two companies to

 “negotiate in good faith to agree to a list of Transferring Employees within two (2) weeks of the

 date of execution of this Agreement . . . .” Am. Compl. at ¶ 72 (quoting HAAS Contract § 6.2).

        The Amended Complaint alleges that several internal documents produced by Maximus

 during the Class Period informed the Individual Defendants of the company’s inadequate

 performance on these vital metrics. “CHDA staff . . . regularly generated Operation Reports,

 which provided metrics on recruitment, training, productivity, and quality of assessments.” Am.

 Comp. ¶ 193. These Operations Reports were “frequently” sent to Maximus’s headquarters in

 Reston, Virginia, although the Amended Complaint does not specifically allege that the

 Individual Defendants read them, saw them, or where made aware of their contents. Id. Plaintiff

 also alleges that an internal “Risk Register” was maintained and available to the Individual

 Defendants. This Risk Register consisted of an Excel spreadsheet that “was compiled and

 maintained by CHDA’s Project Management Office . . . , which would send these Risk Registers

 to . . . other Maximus employees who were expected to update them with their relevant areas.”

 Id. at ¶ 154. However, this “Risk Register did not just track possible risks, but also MAXIMUS’

 efforts to mitigate them.” Defs.’ Mem. in Supp. 18.

        The Amended Complaint alleges that, despite these internal warnings, Maximus and its

 leadership mislead the investing public concerning the performance of the HAAS Contract.




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 Specifically, the Amended Complaint relies on eleven alleged misrepresentations during the

 Class Period made during earnings calls and in SEC filings.

         Statement 1 was made by Maximus President Caswell in response to a reporter’s question

 during Maximus’s February 5, 2015 earnings call, approximately one month before Maximus

 officially took over the Contract from Atos. In describing “how [the HAAS Contract]’s going,”

 Caswell stated that Maximus was “continu[ing] to work on ramping up for th[e] contract,” and

 that “we feel very much that it’s going as expected.” Defs.’ Mem. in Supp., Ex. 5 (“Feb. 5, 2015

 Call”) 21 (emphasis added). Plaintiff alleges in contrast that shortly after Maximus took over the

 HAAS contract, in a March 2015 internal teleconference between Caswell and CHDA

 employees in the UK, “Caswell stressed that Maximus’ performance in these categories needed

 to be improved” and discussed “the difficulties that Maximus was experiencing with the HAAS

 Contract, including its poor performance in the following categories: (1) HCP recruitment; (2)

 HCP training; (3) HCP productivity, including assessment volumes; and (4) assessment quality.”

 Id. at ¶ 192.

         Statements 2, 3, and 4 were made by Maximus CEO Montoni during Maximus’s May 7,

 2015 earnings call. While discussing the HAAS Contract, Montoni said that the company was

 “working hard to achieve the program’s goals related to improved service to UK citizens,

 including increasing the overall number of healthcare professionals who support the program.”

 Defs.’ Mem. in Supp., Ex. 6 (“May 7, 2015 Call”) 7. Regarding Maximus’s recruitment and

 training of the HCPs, Montoni said

                 [2] Nearly all of the employees transferred over from the previous
                 provider, and [3] early indications are that we are meeting our
                 recruitment targets for health care professionals. This is key in
                 helping us bring about positive change, and although it’s early
                 days, [4] we’re also on track to meet our requirements for
                 assessment volumes. As a rem[]inder, our longer-term goals for the

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                program include reducing the long lead times, improving the
                quality of the assessment and making the assessment process less
                intimidating.

 Id.

        Statements 5 and 6 are based on Maximus’s Form 10-Q quarterly report for the second

 quarter of 2015, filed the next day, May 8, 2015, the first such report after Maximus began

 administering the HAAS Contract (the “May 2015 10-Q”). Defs.’ Mem. in Supp. Ex. 22. When

 discussing the company’s “risk factors,” the report did not identify new risks, but instead

 incorporated by reference “the factors discussed under ‘Risk Factors’ in [Maximus’s] Form 10-K

 for fiscal year ended September 30, 2014 . . . .” Id. at 20. Among the seven pages of risks

 identified in that 10-K (none of which were specifically associated with the HAAS Contract),

 Plaintiff identifies the following as materially misleading (“Statement 5”):

                If we fail to accurately estimate the factors upon which we base
                our contract pricing, we may generate less profit than expected or
                incur losses on those contracts.

                If our estimates prove to be inaccurate, we may not achieve the
                level of profit we expected or we may incur a net loss on a
                contract.

                We may be unable to attract and retain sufficient qualified
                personnel to sustain our business.

 Am. Compl. ¶ 322 (emphasis removed). Statement 6 is based on Maximus’s failure to include in

 the May 201510-Q what Plaintiff contends were required disclosures under Item 303 of

 Regulation S-K, 17 C.F.R. § 229.303.

        Statements 7, 8, and 9 and 10 are based on an August 6, 2015 earnings call and the 10-Q

 filed the next day, August 7, 2015. While the company generally reported strong revenue growth

 overall for the third quarter of 2015, its Health Segment (which included the HAAS Contract)

 reported an operating margin of 13.7 percent, compared to 14.2 percent in the same quarter the


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 prior year. Am. Compl. ¶ 334. On the call, Maximus Chief Financial Officer Richard Nadeau

 said the fall in operating margin was “expected” and “due to the anticipated volume decline in

 our U.S. appeals business, a larger share of lower-margin cost reimbursable contracts and new

 contracts [such as HAAS] in start-up phase.” Defs.’ Mem. in Supp. Ex. 7 (“Aug. 6, 2015

 Earnings Call”) 3. Nadeau elaborated that additional revenue from the Health Services Segment

 generated by its U.S. ventures “will be offset by start-up challenges that we are experiencing

 with the [HAAS] contract in the UK.” Id. (Maximus “operate[s] a portfolio of contracts that are

 in various stages of maturity. As a result, at any given time, our more matured contracts offset

 our newer programs.”)

        As to the HAAS Contract specifically, Nadeau reminded investors that “at the time of

 takeover, [HAAS] was a very troubled program,” but stated that “we remain confident that we

 can bring about positive change to the program over time.” Id. More specifically as to the HAAS

 Contract, Nadeau noted:

                Since our last earnings call, the recruiting and retaining of
                healthcare professionals has proved to be tougher than we
                anticipated. As a result, we are experiencing volume and, to a
                lesser extent, quality variances from our plan. This means lower
                revenue and profit contributions from the contract at this time. The
                project is still expected to be profitable for both fiscal 2015 and
                fiscal 2016.

 Id. (emphasis added). During his portion of the call, Montoni likewise confirmed that the HAAS

 “contract is facing some start-up challenges,” and that “[a]ll along, we’ve recognized it would

 take some time to bring meaningful improvements to the program,” but that “[w]e believe that

 our efforts to drive recruitment and improve retention [of HCPs] are gaining traction and are the

 right course of action.” Id. at 5. During the question and answer portion of the call, Montoni

 further explained that the HCP recruitment problem was due to the fact that HCPs in the UK “are



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 [already] gainfully employed, so recruiting them is tougher than some other types of

 professionals.” Id. at 9. Montoni explained that

                [o]ur original thought was that all of fiscal 2015 would be a ramp
                period. We took this over in the spring. In all of fiscal 2015 and
                throughout a good portion of 2016, our original plan [was that] this
                would be in ramp mode. So, our plan was that this would stabilize
                in fiscal 2016 and that’s still our plan. So, we’re a bit behind where
                we wanted to be. But we have actions in place such that we think
                we can stay on course and get this stabilized in fiscal 2015.

 Id. (emphasis added). The August 7, 2015 10-Q filing with the SEC contained the same

 statement of risk factors as the May, 2015 10-Q and is alleged to contain the same omissions.

        Statement 11 is based on statements made during a November 12, 2015 conference call to

 discuss Maximus’s fourth quarter and full year 2015 earnings. In the fourth quarter, Maximus’s

 overall operating margin for the quarter was 10.3%, compared to 13.5% in the same quarter the

 previous year. Am. Compl. ¶ 372. Operating income for the quarter was $30.5 million, compared

 to $31.2 million the previous year and operating income for the year totaled $154.3 million,

 compared to $115.6 million for fiscal year 2014. Id. In a press release before the call, Maximus

 reported that “[o]perating margins for the fourth quarter and full fiscal year 2015 were tempered

 by new programs in start-up, most notably the U.K. Health Assessment Advisory Service

 contract, which is not performing to the Company’s previous expectations.” Id. Maximus also

 revised its earnings projections for fiscal year 2016 downward. Id. On the call, Nadeau explained

 these revisions as being solely due to the HAAS Contract, stating that “the ramp-up to contract

 volume targets has been slower than originally planned.” [Doc. No. 50-8] (“Nov. 2015 Earnings

 Call”) 3. More specifically, Nadeau told investors that the HAAS Contract “delivered

 approximately $105 million in revenue, and an operating loss of $4 million,” compared to an

 initial projected range of $140 to $165 million in revenue. Id. at 6. Nadeau attributed this

 shortfall to two factors: “First, our staffing levels are running lower than our plan . . . . Second,
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 we are not achieving certain performance metrics, most notably volume targets. As a result, we

 are not earning the performance-based incentive fees.” Id. Montoni echoed this analysis: “Our

 ability to hit the volume targets is tied directly to three areas: the number of health care

 professionals that we recruit; the number that complete training and graduate; and the

 productivity of these new recruits. . . . What has changed is the amount of time it is taking [us] to

 recruit, graduate and ramp-up the new staff, but we feel confident that, over time, we can achieve

 our goals.” Id. at 12.

         Montoni announced several steps the company was taking to address these concerns.

 “The first area is recruitment. . . . We have expanded our network of recruitment partners and

 enhanced our employee referral program. We implemented an advertising and social media

 campaign, launched a recruitment portal website and have been exhibiting at a number of

 recruitment fairs across the country. Through these efforts we have seen a sizable uptick in the

 number of new recruits.” Id. at 12. With respect to training, Montoni announced several

 initiatives to provide greater training to recruits, including individualized training support to new

 recruits who struggle with the initial competency examination. “This is already yielding results

 in keeping more candidates in the process. . . . With this extra support, we expect that more

 candidates will successfully graduate to full accreditation.” Id. Finally, on productivity, Montoni

 acknowledged that once trained, “it may take between six and eight months for [HCPs] to

 achieve full productivity levels,” but that they had seen increased productivity by “optimiz[ing]

 the work schedules of our staff and offer[ing] voluntary overtime incentives . . . to increase the

 number of assessments we can complete each day.” Id. at 13. Based on these initiatives, Montoni

 reported that “[o]ver the last eight months, we’ve already made significant progress and realized

 several early accomplishments [which] demonstrate that, over time, we can bring about the



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 necessary changes to put this program on the path to success.” Id. Montoni summarized that “we

 are making meaningful improvements [on the HAAS Contract] and it’s on an upward trajectory,”

 and that “this is not a matter of loss mitigation but rather o[f] bringing the start-up to a mature

 operation level . . . .” Id. at 15.

         During the question and answer portion of the call, an investor asked whether the HAAS

 Contract’s recruiting problems were “being driven by a shortage of qualified health care

 professionals in the market . . . .” Id. at 23. Caswell responded by first reiterating that “recruiting

 has improved quite a bit over the course of the last several months . . . . . and we’re now reaching

 a level of recruiting that, from a rate perspective, is an appropriate level.” Id. at 24 (emphasis

 added). However, Caswell noted, “[t]he real issue that we’ve been facing is our ability to

 graduate those trainees that we bring into the system on a timely basis . . . .” Id. Later in the call,

 an investor asked “how many health care professionals do you have on . . . the assessment

 contract right now, and what does the current workload require?” Id. at 36. Caswell responded

 that

                  we can’t actually speak to the detailed metrics in terms of the
                  number of health care professionals that we have on board, but I
                  would remind you that we feel like we’ve made very significant
                  progress in expanding our supply chain of qualified health
                  professionals. . . . [W]e feel that we’re at the right rate for
                  recruiting and we feel that we just need to keep it going for the
                  foreseeable future.

 Id. at 37 (emphasis added).

         On January 8, 2016, the U.K. government’s National Audit Office (“NAO”) released a

 public audit report entitled “Contracted-out Health and Disability Assessments.” Am. Compl.

 ¶ 55; see [Doc. No. 50-3] (“NAO Report”). The NAO Report contained more detailed

 information about Maximus’s performance on the HAAS Contract and the process by which the

 Contract was awarded. Specifically, the Report showed that Maximus only met its overall
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 assessment volume targets the first two months of the Contract and “concluded that Maximus

 still faced a backlog of at least 280,000 claims as of August 2015.” Am. Compl. ¶ 110. The

 Report also criticized DWP’s contracting processes, observing that despite knowing that Atos

 had a staff retention rate of 70%, DWP did not contest during the bidding process Maximus’s use

 of “a capacity model that assumed 95% of staff would still be in post after one month.” NAO

 Report 19. The Report also observed that as of August 2015, only “around half of those recruited

 by [Maximus] completed their training.” Id. The Report characterized DWP’s target of one

 million assessments in the first year of the HAAS Contract as “ambitious” since DWP “did not

 base its target on the modeling of available resources, and did not consider revising the target

 following bidders’ requests, although it did make changes after contract award.” Id. at 9. Overall,

 the Report concluded that Maximus was “not on track to complete the expected number of ESA

 assessments for 2015[,] largely due to problems of reaching the full staff complement . . . .” Id. at

 7.

        On the February 4, 2016, Maximus made what Plaintiff alleges were its “final corrective

 disclosures.” On that day, it reported that its Health Services Segment operating margin fell

 during the first 2016 quarter from 15.5% to 9.2%, and again attributed the result to “programs in

 the start-up phase . . . including the Health Assessment Advisory Service.” Am. Compl. ¶ 113. In

 the earnings call the same day, Montoni stated that “we are still running below our volume

 targets [on the HAAS Contract] . . . . We continue to expect to have our productivity at the

 appropriate levels by late summer.” Id. at ¶ 114. As for the National Audit Report, Mononi

 asserted that “[t]he NAO report echoed what we said in our November call as it relates to certain

 performance metrics, including volumes and quality.” Id. at ¶ 115. Montoni also disclosed that

 “[d]uring the autumn timeframe, we were hiring approximately 100 new healthcare professionals



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 each month[,]” and that “graduation rates [for those HCPs] are north of 80%.” Am. Compl. ¶¶

 117–18.

        Following the February 2016 earnings call, the price of Maximus common stock dropped

 $5.53 per share, or 10.5%, closing at $46.92 per share on February 5. Maximus’s stock price

 during the Class Period peaked at $70 per share on August 5, 2015, before the beginning of the

 alleged “partial corrective disclosures” in August and November, 2015. Id. at ¶ 20.

        Count I of the Amended Complaint alleges a violation of Section 10(b) of the Exchange

 Act of 1934, 15 U.S.C. § 78j(b), and SEC Rule 10b-5, 17 C.F.R. § 240.10b-5. Count II alleges

 liability against the Individual Defendants as control persons under Section 20(a) of the

 Exchange Act, 15 U.S.C. § 78t. As referenced above, all of these claims are based on the

 following eleven allegedly misleading statements or omissions by the Individual Defendants

 during the Class Period (February 5, 015 to February 3, 2016) regarding the performance of the

 HAAS Contract:

        •   Statement 1 (made by Caswell during the February 5, 2015 earnings call): “We feel
            very much that it’s going as expected.”

        •   Statement 2 (made by Montoni during the May 7, 2015 earnings call): “Nearly all of
            the employees transferred over from the previous provider.”

        •   Statement 3 (made by Montoni during the May 7, 2015 earnings call): “Early
            indications are that we are meeting our recruitment targets for healthcare
            professionals.”

        •   Statement 4 (made by Montoni during the May 7, 2015 earnings call): “We are also
            on track to meet our requirements for assessment volumes.”

        •   Statement 5 (made in the May 8, 2015 10-Q filing):

                o “If we fail to accurately estimate the factors upon which we base our contract
                  pricing, we may generate less profit than expected or incur losses on those
                  contracts.”

                o “If our estimates prove to be inaccurate, we may not achieve the level of profit
                  we expected or we may incur a net loss on a contract.”

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                 o “We may be unable to attract and retain sufficient qualified personnel to
                   sustain our business.”

         •   Statement 6, based on omissions contained in Maximus’s response to Item 303 of
             Regulation S-K, 17 C.F.R. § 229.303 of the May 8, 2015 10-Q filing.

         •   Statement 7 (made by Nadeau during the August 6, 2015 earnings call): “The project
             is still expected to be profitable for [fiscal year] ’15.”

         •   Statement 8 (made by Montoni, August 6, 2015 earnings call): “We’re a bit behind
             where we wanted to be.”

         •   Statement 9 (made in the August 7, 2015 10-Q filing):

                 o “If we fail to accurately estimate the factors upon which we base our contract
                   pricing, we may generate less profit than expected t or incur losses on those
                   contracts.”

                 o “If our estimates prove to be inaccurate, we may not achieve the level of profit
                   we expected or we may incur a net loss on a contract.”

                 o “We may be unable to attract and retain sufficient qualified personnel to
                   sustain our business.”

         •   Statement 10, based on omissions in its response to Item 303 of Regulation S-K, 17
             C.F.R. § 229.303, contained in Maximus’s August 7, 2015 10-Q.

         •   Statement 11 (made by Caswell during the November 12, 2015 earnings call): “We’re
             now reaching a level of recruiting that, from a rate perspective, is an appropriate level
             . . . we’re at the right rate for recruiting.”

                                       II. LEGAL STANDARD

         A Rule 12(b)(6) motion to dismiss tests the legal sufficiency of the complaint. See

 Randall v. United States, 30 F.3d 518, 522 (4th Cir. 1994); Republican Party of N.C. v. Martin,

 980 F.2d 943, 952 (4th Cir. 1994). A claim should be dismissed “if, after accepting all well-

 pleaded allegations in the plaintiff’s complaint as true . . . it appears certain that the plaintiff

 cannot prove any set of facts in support of his claim entitling him to relief.” Edwards v. City of

 Goldsboro, 178 F.3d 231, 244 (4th Cir. 1999); see also Trulock v. Freeh, 275 F.3d 391, 405 (4th

 Cir. 2001). In considering a motion to dismiss, “the material allegations of the complaint are



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 taken as admitted,” Jenkins v. McKeithen, 395 U.S. 411, 421 (1969) (citations omitted), and the

 court may consider exhibits attached to the complaint, Fayetteville Investors v. Commercial

 Builders, Inc., 936 F. 2d 1462, 1465 (4th Cir. 1991).

        Moreover, “the complaint is to be liberally construed in favor of plaintiff.” Id.; see also

 Bd. of Trustees v. Sullivant Ave. Props., LLC, 508 F. Supp. 2d 473, 475 (E.D. Va. 2007). In

 addition, a motion to dismiss must be assessed in light of Rule 8’s liberal pleading standards,

 which require only “a short and plain statement of the claim showing that the pleader is entitled

 to relief.” Fed. R. Civ. P. 8. Nevertheless, while Rule 8 does not require “detailed factual

 allegations,” a plaintiff must still provide “more than labels and conclusions, and a formulaic

 recitation of the elements of a cause of action will not do.” Bell Atlantic Corp. v. Twombly, 550

 U.S. 544, 555 (2007) (the complaint “must be enough to raise a right to relief above the

 speculative level” to one that is “plausible on its face”); see also Giarratano v. Johnson, 521

 F.3d 298, 302 (4th Cir. 2008). As the Supreme Court stated in Ashcroft v. Iqbal, 556 U.S. 662,

 678 (2008), “[a] claim has facial plausibility when the plaintiff pleads factual content that allows

 the Court to draw a reasonable inference that the defendant is liable for the conduct alleged.”

 As discussed below, however, the PSLRA has imposed certain heightened pleading requirements

 with respect to certain elements of plaintiff’s causes of action, including specifically scienter. See

 § 78u-4(b)(2).

                                          III. ANALYSIS

        Section 10(b) of the Securities Exchange Act of 1934 provides that it is unlawful “[t]o

 use or employ, in connection with the purchase or sale of any security . . . any manipulative or

 deceptive device or contrivance in contravention of” the rules propounded by the SEC. 15 U.S.C.

 § 78j(b). Rule 10b-5 similarly provides in relevant part that “[i]t shall be unlawful for any person



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 . . . [t]o make any untrue statement of a material fact or to omit to state a material fact necessary

 in order to make the statements made, in light of the circumstances under which they were made,

 not misleading.” 17 C.F.R. § 240.10b-5(b). For a plaintiff to succeed on a § 10(b) claim, it must

 establish “(1) a material misrepresentation or omission by the defendant; (2) scienter; (3) a

 connection between the misrepresentation or omission and the purchase or sale of a security; (4)

 reliance upon the misrepresentation or omission; (5) economic loss; and (6) loss causation.”

 Stoneridge, Inv. Partners, LLC v. Scientific-Atlanta, 552 U.S. 148, 157 (2008) (citations

 omitted). Section 20(a) provides for joint and several liability for individuals who “control”

 others who are liable under the Exchange Act. Individuals in positions of “control” are liable to

 the same extent as those that they control. 15 U.S.C. § 78t.

        a.      None of the relied upon statements are actionable.

                Plaintiff contends that the Defendants made each of the relied upon statements or

 omissions with the requisite scienter. With respect to the element of scienter, the PSLRA

 requires that a complaint “state with particularity facts giving rise to a strong inference that the

 defendant acted with the required state of mind.” § 78u-4(b)(2). The “required state of mind”

 under Section 10(b) is “a mental state embracing intent to deceive, manipulate, or defraud.”

 Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 319 (2007). “Severe recklessness”

 can also suffice to meet the scienter requirement. Ottmann v. Hanger Ortho. Group., Inc., 353

 F.3d 338, 344 (4th Cir. 2003). However, this “slightly lesser species of intentional misconduct,”

 id. (internal citations and quotation marks omitted), must be “so highly unreasonable and such an

 extreme departure from the standard of ordinary care as to present a danger of misleading the

 plaintiff to the extent that the danger was either known to the defendant or so obvious that the

 defendant must have been aware of it,” Phillips v. LCI Intern., Inc., 190 F.3d 609, 621 (4th Cir.



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 1999). Moreover, under the PSLRA, allegations of scienter must satisfy the heightened standards

 applicable to fraud allegations rather than the traditional Rule 8 “short and plain statement of the

 claim” standard. See Yates v. Mun. Mortg. & Equity, LLC, 744 F.3d 874, 885 (“The PSLRA

 imposes a heighted pleading standard of fraud allegations in private securities complaints.”); see

 also Fed. R. Civ. P. 9(b) (“In alleging fraud or mistake, a party must state with particularity the

 circumstances constituting fraud or mistake.”). Accordingly, the complaint must plead specific

 facts that, when taken collectively, give rise to an inference of scienter that “a reasonable person

 would deem . . . at least as compelling as any opposing inference one could draw from the facts

 alleged.” Tellabs, 551 U.S. at 322-324. As discussed below, the Plaintiff’s allegations are

 insufficient to meet this burden as to scienter. Additionally, some of the relied upon statements

 are non-actionable statements of belief or opinion, protected forward looking statements, or

 otherwise immaterial statements that do not support a claim under 10b-5. The requirement of

 “[m]ateriality is an objective concept, involving the significance of an omitted or misrepresented

 fact to a reasonable investor.” Longmon v. Food Lion, Inc., 197 F.3d 675, 682 (4th Cir. 1999)

 (internal citations and quotation marks omitted). For a statement to be “material,” “there must be

 a substantial likelihood that the disclosure of the omitted fact would have been viewed by the

 reasonable investor as having significantly altered the ‘total mix’ of information made

 available.” Basic v. Levinson, 485 U.S. 224, 231–232 (1988) (quoting TSC Industries, Inc. v.

 Northway, Inc., 426 U.S. 438, 449 (1976)). In order to assess a statement’s effect on the “total

 mix” of information available to the reasonable investor, it “must be considered in the full

 context in which [it] w[as] made.” Gasner v. Bd. of Supervisors of the Cnty of Dinwiddie, Va.,

 103 F.3d 351, 358 (4th Cir. 1996).




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        Plaintiff’s claims revolve around the adequacy of their disclosures concerning the risks

 associated with the HAAS Contract and the difficulties experienced in performing under the

 HAAS Contract. Accordingly, the adequacy of the Plaintiff’s allegations as to Defendants’

 scienter, and the permissible inferences of scienter, must be assessed with respect to the

 substance of those specific relied upon statements, the Individual Defendants’ knowledge of

 contrary internal information, as well as the public statements in November 2014 in connection

 with Maximus’s announcement of the HAAS Contract.

                i.      Statement 1: “We feel very much that it’s going as expected.” (made on
                        February 5, 2015)

        Plaintiff alleges that Caswell’s statement during the February 5, 2015 earnings call that

 “we feel very much that [the HAAS Contract]’s going as expected” was misleading “because the

 transition was not going as Maximus expected in February 2015 given that Maximus had not

 successfully achieved a key goal of the transition . . . the transfer of a sufficient number of HCPs

 from Atos.” Am. Compl. ¶ 302. However, the Plaintiff has failed to allege facts sufficient to

 draw the required inference that the statement was made “with the intent to deceive.” First, this

 statement was made before Maximus began performance under the contract and does not state

 that Maximus would be successful in its performance, but merely that the pre-contract ramp-up

 process is “going as expected.” Caswell did not claim that Maximus was meeting or exceeding

 some concrete target necessary for the contract’s success. Second, the statement must be

 assessed within the context of what Maximus had already told investors concerning its

 “expectations.” In that regard, when Maximus first announced the HAAS Contract in its

 November 2014 earnings call, it advised callers “[a]s [they] may have read, the program faces

 significant challenges out of the gate that will take some time to improve,” and that among the

 most important factors to a successful transition was “the conversion of the existing staff over

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 from Atos . . . .” Nov. 2014 Earnings Call 16, 28. Similarly, at the beginning of the February

 2015 call, Montoni reminded callers that Maximus was “working towards addressing some of the

 challenges that exist[] today, but recognize[d] that it will take time to improve key aspects of the

 customer experience.” Feb. 2015 Earnings Call 10. Along those lines, “one of [Maximus’s]

 primary goals [wa]s to increase the overall number of healthcare professionals . . . .” Id. Given

 this overall context, the Plaintiffs have failed to allege facts that sufficiently allege that the

 “going as expected” statement was either false or misleading or made with an intent to deceive.

 For the same reasons, Plaintiff has failed to adequately allege that Statement 1 significantly

 changed the “total mix” of information available to investors and was therefore material.

                   ii.      Statement 2: “Nearly all of the employees transferred over from
                            [Atos].”(made on May 7, 2015)

          In support of its claim that Statement 2 was false or misleading, Plaintiff does not allege

 the number of Atos employees previously working on the contract as compared to the number

 that actually transferred over to Maximus. 2 Instead, Plaintiff relies on (1) the initial assumption

 of the HAAS Contract that “[a] minimum of 753.8 . . . FTE HPCs will transfer to [Maximus].”

 [Doc. No. 50-15] (“HAAS Contract Schedule 7.1”) 27–28; (2) the HAAS Contract’s requirement

 that “no later than 10 Working Days after the Operational Service Commencement Date, the

 Parties shall agree whether each Allowable Assumption is accurate[,]” id. at 14; (3) Maximus

 and DWP’s agreement in July 2015 to reduce the number of assessments in the first year from


 2
   While the Amended Complaint does not purport to allege specifically how many Atos employees transferred to
 Maximus, Plaintiff does claim that “Maximus transferred only 500 Atos HCPs, 34% below the Contract’s target of
 745.” Pl.’s Resp. 2 (emphasis omitted) (citing Am. Compl. ¶¶ 139–45). This claim is based on a January 18, 2015
 news article based on an interview with Leslie Wolfe, head of Maximus’s UK operations. The article states that
 Maximus “is increasing the number of staff, by roughly an extra 1,000 people, bringing the total employed on the
 contract to around 1,500 to help clear the backlog . . . .” Am. Compl. ¶ 139 (emphasis omitted). The Amended
 Complaint relies on this statement for the proposition that Maximus had a target to recruit and train 1,000 additional
 HCPs and that only 500 HCPs transferred from Atos. The statement is not attributed to Wolfe, does not reveal the
 basis for its conclusion, and lacks the specificity to support an inference that Wolfe acknowledged that only 500
 Atos employees had transferred to Maximus.

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 one million to 980,000; and (4) the NAO Report’s statement that the assessment target reduction

 occurred because “fewer staff transferred from the previous provider than the contractual

 assumption agreed” to by the parties. NAO Report 39.

        The “Operational Commencement Date” was March 1, 2015; and Maximus and DWP

 were therefore contractually obligated to agree by March 13, 2015 whether the initial assumption

 of one million assessments during the Contract’s first year was accurate. Because Maximus and

 DWP agreed to reduce the first year’s assessments to 980,000, which the Report attributed to the

 fact that fewer than the assumed 753.8 FTE HCPs transferred from Atos, and Plaintiff plausibly

 alleges that the total number of Atos HCPs must have been greater than the number Maximus

 assumed would transfer, Plaintiff has sufficiently alleged that the statement that “nearly all” Atos

 HCPs had transferred was false, since it appears that not even all of the anticipated HCPs had

 transferred. The same cannot be said, however, with respect to Plaintiff’s allegation that Montoni

 knew of the shortfall, and that he made Statement 2 with the intent to deceive.

        Plaintiff plausibly contends that because of the contractual obligation to assess the

 accuracy of the 753.8 FTE HCPs by March 13, 2015, an inference can be drawn from the parties’

 subsequent downward adjustment in assessments that Montoni knew there was a shortfall in the

 assumed level of transfers necessary to meet the original target of one million assessments. See

 Am. Compl. ¶ 148. But there is no certainty, or allegation, concerning whether the July 2015

 agreement to reduce the first year’s assessment target was, in fact, the result of Maximus’s

 questioning the assumed level of transfers by March 13, 2015. It is certainly possible, and not

 implausible, given the date of the actual agreement to reduce the first year’s assessment, July

 2015, that the parties did not, in fact, assess the accuracy of that initial transfer assumption by

 March 13, 2015, or indeed until after the May 2015 earnings call. In any event, the inference of



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 knowledge to be drawn from that contractual obligation is a relatively weak one; and the

 inference that Montoni not only knew of the shortfall by May 7 but also made Statement 2 with

 the intent to deceive is even weaker. Overall, Plaintiff’s allegations do not raise the required

 strong inference of scienter with respect to Statement 2.

         Moreover, even assuming that Statement 2 was false and that Montoni knew of the

 shortfall in transfers by the May 7 earnings call, the Amended Complaint fails to allege facts

 sufficient to support the inference that the misstatement was material. Statement 2 makes a claim

 about the number of HCP transfers relative to the total number of HCPs who had worked for

 Atos. While the total number of Atos HCPs must have been greater than the 753.8 FTE HCPs

 originally assumed would transfer, the Amended Complaint does not identify the magnitude of

 that shortfall, only that it was large enough to justify the parties’ reducing the first year

 assessment target by 2%. Plaintiff essentially contends that Statement 2’s materiality can be

 inferred from the 2% reduction, arguing that “even a relatively small reduction in the assessment

 requirement was a major concession by the DWP, given that it had previously set a ‘non-

 negotiable’ target of 1 million assessments.” See Pl.’s Resp. 16. But notwithstanding DWP’s

 non-negotiable requirements during the bid process, the HAAS Contract specifically allowed the

 parties to reassess their assumptions and make adjustments. There are no allegations that allow

 an assessment of the financial impact, if any, on Maximus as a result of the 2% reduction in its

 assessment target; and that Maximus took advantage of its contractual ability to reduce its target

 assessment (and thereby more easily qualify for an Award Fee) does not, by itself, allow the

 inference that there is a “substantial likelihood that the disclosure of the [shortfall causing the 2%

 reduction] would have been viewed by the reasonable investor as having significantly altered the

 ‘total mix’ of information made available.” Basic, 485 U.S. at 231–232.



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                  iii.     Statement 3: “Early indications are that we are meeting our recruitment
                           targets for healthcare professionals.”(made on May 7, 2015)

         Plaintiff first relies on the NAO Report to allege that the statement that Maximus was

 “meeting [its] recruitment targets” was false. NAO Report 25. Speaking generally, the Report

 notes that “[i]n April 2015, the Department estimated providers would need to increase the

 number of healthcare professionals by 84% from 2,220 in May 2015 to 4,050 in November

 2016.” Id. However, that total estimate related not just to Maximus, but to all of DWP’s

 contractors, all of whom reported challenges with the “recruiting, training and retaining

 healthcare professionals and providing enough centres for training and assessments.” Id. The

 Report does not break down how many HCPs each program managed by DWP would need. Id.

 The Report goes on to say that “all providers,” including Maximus, “told us they identified

 healthcare professional capacity as a high risk,” although the Report does not indicate when the

 providers generally, or Maximus in particular, communicated that recruitment was a risk. Id. 3

         Relying on information from a confidential witness, Plaintiff points to internal Maximus

 reports, known as Risk Registers, which in July 2015 “red flagged” 4 “Recruitment Capacity and

 Candidate Availability,” saying that “[w]e will not be able to source and process sufficient

 recruits of appropriate quality to meet the demand profile.” Am. Comp. ¶ 154 (emphasis

 omitted). The July 2015 Risk Register includes a “Risk Raised Date” of April 28, 2015. The

 Amended Complaint does not explain, however, to whom this risk was raised or in what fashion,

 beyond its inclusion in the Risk Register. The Risk Register does show that the risk was reported

 3
   Based on these statements, Plaintiff argues that as of April 2015 “all providers told [DWP] they identified
 healthcare professional capacity as a high risk.” However, the April 2015 date is associated with the DWP’s internal
 analysis of its own needs in April 2015, not when the providers perceived recruitment as a risk. See NAO Report 25
 (“In April 2015, the Department estimated providers would need to increase the number of healthcare professionals
 . . . .”).
 4
    The Amended Complaint explains that the Risk Registers used a “red-amber-green” risk rating system, with “red”
 risks meaning that “[s]uccessful delivery of the project/programme appears to be unachievable. There are major
 issues on the project/programme . . . which at this stage do[] not appear to be manageable or resolveable. The
 project/programme may need re-baselineing and/or overall viability reassessed.” Am. Compl. ¶ 158.

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 to DWP, confirming the NAO Report, though again, it does not say when or exactly to whom it

 was reported. Id. at ¶ 162. In short, that a July 2015 Risk Register stated that the recruitment risk

 was “raised” on April 28, 2015, does not establish that Montoni, or any of the Individual

 Defendants, knew of the issue a week later. Indeed, the Amended Complaint alleges that the Risk

 Register identified Judith Whitaker, the director of HR at CHDA, as the “Risk Owner,” and that

 Whitaker reported to Leslie Wolfe, the head of Maximus’s UK operations, not one of the

 Individual Defendants. 5 Id. at ¶ 161. The Amended Complaint does not allege that Whitaker or

 Wolfe communicated this risk to the Individual Defendants before the May 2015 earnings call.

          Plaintiff also relies on two other internal Maximus documents, a “Weekly Resource

 Report Week Ended 31 July 2015” and an August 2015 presentation titled “Recruitment and

 Retention CHDA Workstream Status Report.” The August 2015 presentation states that

 Maximus’s initial internal recruitment target was 120 HCPs per month. Am Compl. ¶ 170.

 Despite this goal, the July 2015 Resource Report states that Maximus missed this goal by a

 significant margin in February and March, recruiting just 48 and 45 HCPs, respectively. Id. at

 169. However, in April 2015, immediately before Statement 3 was made, Maximus hit its

 recruiting goal for the first time, recruiting 121 HCPs. Id. Plaintiff argues that the April

 recruitment numbers did not make up for the shortfalls in February and March, and that overall

 5
   Plaintiff also argues generally that Wolfe was aware of facts contradicting the Individual Defendants’ statements,
 and that her knowledge can be imputed to them for the purpose of showing scienter. “[I]n order for a corporation to
 be liable for securities fraud, at least one corporate agent must have acted with the required state of mind.” In re
 Computer Sciences Corp. Sec. Litig., 890 F. Supp. 2d 650, 664 (E.D. Va. 2012) (cleaned up). But the knowledge of
 one corporate officer is not necessarily imputed to another for the purposes of establishing the second’s scienter. “It
 is possible to draw a strong inference of corporate scienter without being able to name the individuals who
 concocted and disseminated the fraud,” but that task generally requires a highly material and blatant
 misrepresentation from which the Court can infer that there must have been scienter in order for this statement to
 have been made. Makor Issues & Rights, Ltd. v. Tellabs, Inc., 513 F.3d 702, 710 (7th Cir. 2008) cited in Matrix
 Capital Mgmt. Fund, LP v. Bearingpoint, Inc., 576 F.3d 172, 190 (4th Cir. 2009). In that case, “[t]here would be a
 strong inference of corporate scienter, since so dramatic an announcement would have been approved by corporate
 officials sufficiently knowledgeable about the company to know that the announcement was false.” Id. Here, the
 Amended Complaint alleges no facts to support an inference that Wolfe approved, or even had advance knowledge
 of, any of the relied upon statements by the Individual Defendants. Any knowledge she may have had contrary to
 those statements is insufficient to establish scienter on the part of Montoni.

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 Maximus was still behind where they should have been. But Montoni did not phrase the

 statement in terms of overall recruiting numbers, but instead in terms of Maximus’s “meeting

 [its] recruitment targets.” As of early May, it appeared that early ramp-up problems with

 recruiting were being addressed, as recruiting had more than doubled from March to April and

 was at the company’s target.

        To demonstrate scienter, a reasonable person would need to conclude from the facts

 alleged that Montoni’s scienter is “at least as compelling as any opposing inference one could

 draw from the facts alleged.” Tellabs, 551 U.S. at 322-324. For the above reasons, Plaintiff’s

 allegations do not sufficiently allege facts that raise the strong inference that Montoni knew that

 Statement 3 was false and that he made it with the intent to deceive.

                iv.     Statement 4: “[W]e’re also on track to meet our requirements for
                        assessment volumes.”(made on May 7, 2015)

        As with Statement 3, Plaintiff largely relies on internal Maximus documents that flagged

 assessment volumes as a risk to show that Statement 4 was made with the necessary scienter. As

 an initial matter, Plaintiff does not argue that Statement 4 is literally false. The NAO Report, as

 cited in the Amended Complaint, showed that Maximus met its overall assessment targets in

 March and April, the only two months it managed the contract before the May earnings call. See

 id. at ¶ 259. Instead, Plaintiff argues that Statement 4 is a materially misleading half-truth, based

 on the fact that “Maximus materially missed (by over 5,000 assessments or 14%) its crucial

 target for face-to-face assessments in April, which was Maximus’ most important metric . . . .”

 Pl.’s Resp. 21 (emphasis and citations omitted). Additionally, Plaintiff argues that because

 Maximus had a downward trajectory in assessment volume from March to April, while

 assessment targets were increasing each month, it was materially misleading to state that

 Maximus was “on track” to meet its assessment volume requirements. Finally, Plaintiff contends


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 that, contrary to Statements 2 and 3, Maximus was experiencing problems with the transfer and

 recruitment of HCPs that precluded its being “on track” for assessment volume.

         As with Statements 2 and 3, Maximus relies almost entirely on internal reports that

 highlight these risks, without sufficient factual allegations to connect these reports to the

 Individual Defendants. See Am. Compl. ¶ 193 (“Operation Reports, which provided metrics on

 recruitment, training, productivity, and quality of assessments,” were “‘frequently’ sent to

 Maximus’ headquarters in Reston, VA.”), ¶ 419 (“Montoni admitted that he and the entire

 ‘Executive team’ of Maximus had been spending ‘a lot of time’ on monitoring the Contract.”).

 Based on the alleged inconsistencies between the Defendants’ statements and information in the

 Operation Reports, Plaintiff contends Montoni must have had the “intent to deceive, manipulate,

 or defraud.” Tellabs, 551 U.S. at 319. As with Statements 2 and 3, that contrary information

 existed somewhere in the company does not sufficiently show that Montoni had scienter with

 respect to Statement 4, 6 particularly since Statement 4 was literally true with respect to

 Maximus’s March and April 2015 assessment targets.

         The parties dispute whether Statement 4 falls into the statutory safe harbor for forward-

 looking statements or whether the “bespeaks caution” doctrine applies based on Montoni’s

 caveat of “although it’s early days.” Regardless whether those doctrines apply, Statement 4 was

 not material, since Montoni’s “early days” and “on track” language reflected a subjective, less

 than certain assessment. While Statement 3 suggests that early signs were positive, it does not

 convey, as Plaintiff implies, that Maximus had actually hit its assessment volume targets in both

 6
   Plaintiff also contends that the scienter of the Individual Defendants (and particularly their awareness of the
 information in the Operation Reports and the Risk Register) can be inferred from their seniority and the importance
 to the company of the HAAS Contract. However, the Fourth Circuit has specifically rejected inferring scienter based
 on the seniority of the actors or the importance of the subject matter to the company’s business. See Yates v.
 Municipal Mortg. & Equity, LLC, 744 F.3d 874, 890 (4th Cir. 2014) (“[W]e reject plaintiffs’ contention that the
 individual defendants must have acted intentionally or recklessly . . . merely because (1) they were senior
 executives, and (2) the [funds at issue] represented a core business of the Company.” (citations omitted)).

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 March and April or that it had hit all of hits sub-targets, only that there were good prospects that

 Maximus would meet its requirements for assessment volumes on the Contract as a whole.

                v.      Statements 7 and 8: “The project is still expected to be profitable for . . .
                        fiscal 2015 . . .”; “[W]e’re a bit behind where we wanted to be.”(made on
                        August 6, 2015)

        Statement 7 relays Nadeau’s subjective expectations for the success of the HAAS

 Contract, given that, as he said on the same call, “the recruiting and retaining of healthcare

 professionals has proved to be tougher than we anticipated.” Aug. 2015 Earnings Call 2. Plaintiff

 argues that this statement “falsely reassured investors that the challenges disclosed that day were

 minor and already being resolved such that they would not have a material impact on the

 Contract’s profitability for fiscal 2015.” Pl.’s Resp. 30. However, this characterization overstates

 Nadeau’s statement. Statement 7 does not say that the HAAS Contract would be as profitable as

 originally expected, only that it is still expected to be at least somewhat profitable. In the

 sentence immediately before Statement 7, Nadeau explains that the disclosed challenges would

 “mean[] lower revenue and profit contributions from the contract at this time.” Aug. 2015

 Earnings Call. 2. Additionally, Nadeau noted that the company had “already implemented many

 initiatives to drive recruitment and increase new applicant retention,” which Montoni explained

 in greater detail during his portion of the call. Id. at 2, 4. Further, the HAAS Contract was in part

 a cost-plus contract. Maximus did not have to hit all of its assessment volume targets to break

 even or generate some profit, only to achieve performance awards. Losses due to a significant

 shortfall in assessment volume were thereforelimited. In this context, it is more plausible that

 Nadeau genuinely believed that the remedial measures the company had identified and put in

 place would be sufficient to allow for at least some profit by the end of the fiscal year than he

 intended to deceive investors



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          Similarly, Plaintiff has failed to allege facts sufficient to imply scienter with respect to

 Statement 8 (that Maximus was “a bit behind where we wanted to be”), even if that statement

 were otherwise actionable or material. Montoni, like Nadeau, affirmatively disclosed in the call

 that the contract was not where they wanted it to be and that Maximus had planned on a much

 quicker ramp-up period. See id. at 8 (“Our original thought was that all of fiscal 2015 would be a

 ramp period. . . . So, our plan was that this would stabilize in fiscal 2016, and that’s still our

 plan.”). The Individual Defendants could reasonably have believed that the risks they faced were

 surmountable and that the strategies put in place to combat those risks were likely to succeed.

 Within context, and absent other facts not alleged, the statement that Maximus was “a bit behind

 where [they] wanted to be,” reflects, more than any other explanation, an optimistic business

 analysis without an intent to deceive. 7 See In re Worlds of Wonder Secs. Litig., 35 F.3d 1407,

 1419 (9th Cir. 1994) (“Plaintiffs cannot use the benefit of 20-20 hindsight to turn management’s

 business judgment into securities fraud.”) (internal citations and quotation marks omitted).

                   vi.      Statement 11: “We are now reaching a level of recruiting that, from a rate
                            perspective, is an appropriate level.”; “We’re at the right rate for
                            recruiting.”(made on November 12, 2016)

          Like Statements 7 and 8, Statement 11—which is composed of essentially two statements

 from different parts of the same earnings call—reflects Caswell’s business judgment about what

 the “right rate for recruiting” is and whether the initiatives Maximus had put in place were likely

 to be sufficient to maintain that rate going forward. Relying on a confidential witness, Plaintiff

 alleges in support of materiality and scienter that in July 2015 Maximus increased its recruitment

 targets to 211 HCPs per month, but never recruited more than 130 HCPs per month. Am. Compl.

 ¶ 178, 183. However, the Recruiting Workstream Report in which this increase in recruiting

 7
  For that reason, this case is unlike in Singer v. Reali, __ F.3d __, No. 15-25729, No. 16-1019, 2018 WL 1004978
 (4th Cir. Feb. 22, 2018), which Plaintiff relies on, where there was no plausible legal explanations for the intentional
 and illegal coding of experimental surgeries in order to ensure full reimbursement from insurance companies.

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 goals is discussed stated that the increased target was necessary “partly” because Maximus had

 not been meeting its prior target and needed to make up that shortfall. The increase was “more

 broadly . . . a result of higher levels of training attrition than expected . . . .” Id. at ¶ 179. Within

 that context, the reference to the “right rate for recruiting” appears to be a reference to the

 appropriate level of recruiting if the company could make significant progress in reducing the

 attrition rate. As noted above, after saying that “[w]e are now reaching a level of recruiting that .

 . . is an appropriate level,” Caswell went on to tell the caller who asked the question that “[t]he

 real issue that we’ve been facing is our ability to graduate those trainees that we bring into the

 system on a timely basis and ensure that we have a high level of graduation rate, and obviously, a

 correspondingly low attrition.” Nov. 2015 Earnings Call 24. This affirmative disclosure of the

 “real issue,” which Caswell made repeatedly during the call, belies an inference of scienter and

 shows that, in context, the statement did not change the “overall mix” of information in a way

 that would mislead the reasonable investor. Instead, it is more plausible that this statement

 reflected his business judgment that, regardless of the company’s internal goals, reducing

 attrition would be a more effective way to increase staffing levels than increasing recruitment.

 This judgment appears to have been confirmed by the NAO Report, which concluded that

 increasing HCP staffing “will be challenging given market pressures. . . . [O]nly 3% of 3,970

 [HCP] vacancies are advertised for more than 30 days, suggesting there are relatively few long-

 term [HCP] vacancies.” NAO Report 25. In that environment, where HCPs are in high demand

 in the labor market generally and, as Caswell noted on the call, Maximus is asking them to do “a

 very different type of work” than they are used to, it was a rational judgment to focus on training

 and retaining the HCPs they recruit, rather than focusing on recruiting more HCPs to go through

 a high-attrition training process.



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                vii.    Statements 5 and 9: “If . . . may” risk disclosures in Maximus’s May 2015
                        and August 2015 10-Q filings.

        Plaintiff argues that Maximus’s disclosure of certain risks in its May and August 2015

 10-Qs was materially misleading because of their “if . . . may” formulation, since Maximus knew

 that these risks had already materialized and were threatening the performance of the HAAS

 Contract. However, as discussed above with respect to the May and August 2015 statements,

 Plaintiff has failed to allege facts sufficient to infer that at the time of the May 2015 10-Q the

 Individual Defendants were actually aware of internal information inconsistent with their

 statements. Even if they were, in both May and August 2015, Plaintiff has not pleaded facts

 showing a more plausible inference than that the Individual Defendants genuinely believed that

 the initiatives they had put in place were sufficient to correct the problems in the HAAS Contract

 and accelerate the ramp-up to full profitability.

                viii.   Statements 6 and 10: Omissions in Maximus’s May 2015 and August 2015
                        10-Q filings.

        Plaintiff asserts that Maximus made material omissions in its May and August 2015 10-Q

 filings that are “actionable pursuant to Item 303 of Regulation S-K . . . .” Am. Compl. ¶ 329.

 That regulation requires, among other things, that 10-Q filings “[d]escribe any known trends or

 uncertainties that have had or that the registrant reasonably expects will have a material

 favorable or unfavorable impact on net sales or revenues or income from continuing operations.”

 17 C.F.R. § 229.303(a)(3)(ii). However, Regulation S-K does not create an independent cause of

 action, see Oran v. Stafford, 226 F.3d 275, 287 (3d Cir. 2000) (Alito, J.), and some courts to

 consider the question, including this one, have concluded that “a violation of Regulation S-K

 does not lead to a failure to disclose under 10b-5,” Iron Workers Local 16 Pension Fund v. Hilb

 Rogal & Hobbs Co., 432 F. Supp.2d 571, 578 (E.D. Va. 2006); see also In re NVIDIA Corp. Sec.

 Litig., 768 F.3d 1046, 1054–56 (9th Cir. 2014) (“We have never directly decided whether Item’s

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 303 disclosure duty is actionable under Section10(b) and Rule 10b-5. We now hold that it is

 not.”); In re Sofamor Danek Grp., Inc., 123 F.3d 394, 402–03 (6th Cir. 1997).

        The Fourth Circuit has not ruled on this question and other circuits that have considered

 the issue have reached different conclusions. But even the Second Circuit, which has held that

 Item 303 omissions can give rise to 10b-5 liability, see Stratte-McClure v. Morgan Stanley, 776

 F.3d 94, 103–04 (2d Cir. 2015), has not held that an Item 303 violation is a per se material

 omission under 10b-5, but that “failure to comply with Item 303 . . . can give rise to liability

 under Rule 10b-5 so long as the omission is material under Basic, and the other elements of Rule

 10b-5 have been established.” Id. (emphasis added). For that reason, Item 303 omissions must

 still be material and made with scienter.

        Plaintiff has failed to sufficiently allege that any of the Individual Defendants knew of or

 believed in any unfavorable trend as of the May 2015 10-Q. At the time of the May 2015 10-Q,

 Maximus had been running the HAAS Contract for only two months and met its overall

 assessment volume targets for both of those months. Additionally, as of early May, it appeared

 that Maximus’s problems with recruiting were being addressed; HCP recruiting doubled from

 March to April to meet the company’s internal recruiting goals. The Contract simply had not

 been running long enough to draw the inference that the Individual Defendants knew there was,

 and should have disclosed, a “trend” and that their failure to do so was with the intent to deceive

 investors. By the time of the August 2015 10-Q, Maximus had made affirmative disclosures of

 the problems facing the Contract in its earnings call the day before, cutting against the inference

 that the omission of an Item 303 disclosure was material or made with the intent to deceive

 investors. See, e.g., August 2015 Earnings Call 2 (“[T]he recruiting and retaining of healthcare




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 professionals has proved to be tougher than we anticipated. As a result we are experiencing

 volume and to a lesser extent quality variances from our plan.”).

        For the reasons previously stated by this Court and the Sixth and Ninth Circuits, a failure

 to comply Item 303 of Regulation S-K does not give rise to liability under Section 10(b) or Rule

 10b-5. Alternatively, the Amended Complaint fails to adequately allege scienter or materiality

 for any alleged omissions in the May 2015 or August 2015 10-Qs.

        b.      The Amended Complaint fails to adequately plead loss causation.

        The Amended Complaint also fails to plead adequately loss causation. To prevail on a

 § 10(b) claim, a plaintiff must show that “the act or omission of the defendant . . . caused the loss

 for which the plaintiff seeks to recover damages.” 15 U.S.C. § 78u-(b)(4). For this reason, a

 plaintiff in a fraud-on-the-market case must show not only that the alleged material

 misrepresentations artificially inflated the price of the security, but also that the price dropped to

 the “correct” price after the truth came out, causing investors to bear a loss because of their

 purchase of the securities during the period that the misrepresentations tainted the market. See

 Dura Pharm., Inc. v. Broudo, 544 U.S. 336, 342 (2005) (“[A]n inflated purchase price will not

 itself constitute or proximately cause the relevant economic loss.”). “Loss causation must be pled

 with sufficient specificity, a standard largely consonant with Rule 9(b)’s requirement that

 averments of fraud be pled with particularity.” Carlucci v. Han, 907 F. Supp. 2d 709, 723-24

 (E.D. Va. 2012) (cleaned up). Here, Plaintiff argues that the Amended Complaint adequately

 pleads loss causation on two theories: the corrective disclosure theory and the materialization of

 the risk theory.

        Under a corrective disclosure theory, a plaintiff “must provide a basis on which to

 conclude the . . . alleged corrective disclosures . . . revealed ‘new facts’ suggesting [the



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 defendant] had perpetrated a fraud on the market by omitting” or misrepresenting material

 information in its prior statements to the market. Katyle v. Penn Nat’l Gaming, Inc., 637 F.3d

 462, 473 (4th Cir. 2011). “Such disclosures need not precisely identify the misrepresentation or

 omission . . . [b]ut they must reveal to the market in some sense the fraudulent nature of the

 practices about which a plaintiff complains [and] must ‘at least relate back to the

 misrepresentation and not to some other negative information about the company.’” Id. (quoting

 In re Williams Sec. Litig., 558 F.3d at 1140); see Metzler Inv. GMBH v. Corinthian Colleges,

 Inc., 540 F.3d 1049, 1063 (9th Cir. 2008) (“[T]he complaint must allege that the practices the

 plaintiff contends are fraudulent were revealed to the market and caused the resulting losses.”). A

 corrective disclosure need not reveal the “fraudulent nature” of a prior statement by admitting to

 it. “The ‘relevant truth’ required . . . is not that a fraud was committed per se . . . .” Fruedenberg

 v. E*Trade Fin. Corp., 712 F. Supp. 2d 171, 202 (S.D.N.Y. 2010). Rather, a corrective

 disclosure can reveal the fraudulent nature of a prior statement by revealing “the ‘truth’ about the

 company’s underlying condition, [which,] when revealed, causes the economic loss.” Id.

        Plaintiff contends that it has adequately alleged loss causation based on (1) the alleged

 misstatements and omissions in the February and May 2015 statements (Statements 1 through 6)

 pertaining to the transfer and retention of HCPs and Maximus’s ability to meet its monthly

 assessment volume targets; (2) the “partial corrective statements” in the August and November

 2015 earnings calls (during which plaintiff also contends the Defendant issued further false and

 misleading Statements 7 through 11), which disclosed the true economic health of the HAAS

 Contract; and (3) Maximus’s “final corrective statement” in February 2016, at the end of the

 Class Period, when the full truth “finally came out.” Specifically, the Amended Complaint

 alleges that the February, 2016 earnings call was the first time Maximus revealed that it was



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 “hiring approximately 100 new healthcare professionals each month,” which was less than half

 its target of 211 HCPs; that graduation rates of HCPs was “north of 80%,” as opposed to the 95%

 rate set by the HAAS contract; that the HCP graduation rate was 30% when they received the

 Contract in March, 2015; and that “the learning curve to full productivity [for new HCPs] can

 take between six and eight months.” Am. Compl. ¶¶ 118-119. After the February 2016 earnings

 call, the price of Maximus common stock dropped $5.53 per share, or 10.5%, closing at $46.92

 per share on February 5. Maximus’s stock price during the Class Period peaked at $70 per share

 in August 2015, before the beginning of these alleged “partial corrective disclosures.” Id. at ¶ 20.

        The Amended Complaint fails to allege facts sufficient to establish that the August 2015,

 November 2015, and February 2016 statements were, as Plaintiff contends, corrective

 disclosures. The relied upon disclosures, starting with the August 2015 statement reporting

 disappointing earnings on the HAAS Contract, related to risks that had been previously

 disclosed. The shortfalls in HCP recruiting and assessment volume discussed in the August 2015

 statements occurred after the May 2015 call and were the result of the risks associated with the

 HAAS Contract that Maximus affirmatively disclosed as early as November 2014. See Nov.

 2014 Earnings Call 15, (“[T]he [HAAS Contract] faces significant challenges out of the gate that

 will take some time to improve.”), 28 (“[T]here is a meaningful backlog that we’re seeking to

 reduce.”). While the information disclosed in the August and November 2015 earnings calls

 indicates that the Individual Defendants’ earlier statements may have been overly optimistic,

 those disclosures do not sufficiently allow the inference that they knew in February and May of

 2015 that the Contract would perform at the level that it did. See Katyle, 637 F.3d at 477.

        Likewise, during the August 2015 earnings call, Maximus spoke at length about the

 “start-up challenges” affecting the Contract. Aug. 2015 Earnings Call 8. Analysts asked the



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 Individual Defendants specifically about the recruiting and assessment problems that had been

 disclosed. Id. at 9 (Analyst: “I’m curious why you think you’re having trouble recruiting on the

 HAAS contract?”). Similarly, the November 2015 earnings call and statements merely reported

 further the disappointing performance of the HAAS Contract because of the previously disclosed

 risks. 8 The November 2015 call was the first earnings call where Maximus had the final financial

 reports for fiscal year 2015; and the November 2015 earnings call reflects the recruitment and

 assessment problems that had worsened since the last earnings call. Notably, Plaintiff points to

 no analyst statement on the earnings calls or in the post-call analysis suggesting that the

 November 2015 statements revealed some fraud or deception in the earlier statements. The

 21.9% stock drop associated with the November 2015 earnings call is adequately explained by

 the poor performance of the HAAS Contract disclosed in the call, rather than the perceived

 disclosure of some previous fraud.

          Finally, the February 2016 statements—Plaintiff’s alleged “final corrective

 disclosures”—do not disclose new risks that had been previously concealed or any other past

 fraud. Instead, like the November 2015 statements, they reflect the same performance risks,

 issues, and problems as those disclosed in November and August 2015 and shortly after

 Maximus won the contract. In fact, the February 2016 earnings call referenced the November

 2015 call, saying that the previously disclosed problems were ongoing, not revealing some

 previous fraud: “At this time, we are still running below our volume targets . . . . The NAO


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   Even though the November 2015 statements do not explicitly “relate back” to any early statement alleged to be
 fraudulent, Plaintiff contends that the November 2015 statements implicitly “‘relate back’ to the alleged
 misstatements, including those about recruiting and volume targets that Defendants had told investors Maximus had
 been successfully ‘meeting’ or [was] ‘on track to meet (Statement Nos. 2–4).’” Pl.’s Resp. 47. However, as
 discussed above, the May 2015 statements were couched as predictions based on progress on the relevant metrics up
 to that point. The May statements were also preceded by the disclosures of the risks that were again disclosed in the
 November 2014 earnings call. The August 2015 disclosures also repeated and made clear those pre-May 2015
 disclosures of the risks associated with the Contract.


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 report echoed what we said in our November call as it relates to certain performance metrics,

 including volumes and quality.” Am. Compl. ¶¶ 114–115 (emphasis added).

         Plaintiff also contends that loss causation is shown under the “materialization of the risk

 theory.” Under that theory, a plaintiff can show loss causation by alleging facts showing that the

 drop in stock price was the “foreseeable consequence[] of the alleged fraud” and was caused by

 the “revel[ation of] new information previously concealed by defendants’ alleged fraud.” Caplin

 v. TranS1, Inc., 973 F. Supp. 2d 596, 611-12 (E.D.N.C. 2013). This theory of loss causation does

 not rely on the defendant’s disclosure of its own fraud through later statements. Instead “the

 news of the materialized risk would itself be the revelation of the fraud that caused plaintiffs’

 loss.” Teachers Ret. Sys. of Louisiana v. Hunter, 477 F.3d 162, 187 n.3 (4th Cir. 2007); see also

 In re Omnicom Group Inc. Sec. Litig., 597 F.3d 501, 511 (2d Cir. 2010) (“Appellant seeks to . . .

 argu[e] the existence of proximate cause on the ground that negative investor inferences drawn

 from [a director]’s resignation and from the news stories in June 2002 caused the loss and were a

 foreseeable materialization of the risk . . . .”).

         What Plaintiff posits as a “materialization of the risk” theory is simply a restatement of

 its corrective disclosure argument, since Plaintiff relies only on risks associated with the HAAS

 Contract that it contends were “concealed by alleged misstatements and omissions during the

 Class Period and w[ere] revealed through partial disclosures showing that Defendants had misled

 the market about Maximus’s Contract performance and profitability.” Pl.’s Resp. 49. As

 discussed above, there is nothing about the alleged partial or final corrective disclosures that on

 their face reveal a fraud that had been perpetrated on investors. For the above reasons, the

 Amended Complaint fails to adequately plead loss causation.




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           c.     Plaintiff fails to plead adequately a claim under Section 20(a).

           Count II of the Amended Complaint asserts a cause of action under Section 20(a) of the

 Exchange Act. That section creates joint and several liability for "control persons" who "directly

 or indirectly, control[] any person liable under any provision of' the Exchange Act. 15 U.S.C.

 § 78t(a). Because the Amended Complaint fails to adequately state a claim under§ 1O(b) of the

 Exchange Act, it also fails to state a claim under§ 20(a), and Count II must also be dismissed.

                                         IV. CONCLUSION

           For the foregoing reasons, the Amended Complaint fails to allege facts sufficient to

 support plaintiffs claims under Sections lO(b) or 20(a) of the Securities Exchange Act of 1934.

 The Motion to Dismiss will therefore be GRANTED and the Amended Complaint DISMISSED.

           The CoUI1 will issue an appropriate order.

           The Clerk is directed to forward copies of this Memorandum Opinion to all counsel of

 record.




 Alexandria, Virginia
 August 27, 2018




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